Case 2:14-cv-01884-BJR Document 25-9 Filed 04/28/16 Page 1 of 4




                   Exhibit 10
Case 2:14-cv-01884-BJR Document 25-9 Filed 04/28/16 Page 2 of 4




                                                                  CONFIDENTIAL
                                                                   JAHR0008415
Case 2:14-cv-01884-BJR Document 25-9 Filed 04/28/16 Page 3 of 4




                                                                  CONFIDENTIAL
                                                                   JAHR0008416
Case 2:14-cv-01884-BJR Document 25-9 Filed 04/28/16 Page 4 of 4




                                                                  CONFIDENTIAL
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